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AO 472 (Rev. 09/16) Order ofDetention Pending Trial

                                                                                                     U.S. DISTRICTCOURT
                                       UIurBp SrarES DISTRICT COUNI                                 DISTRICT OFVERMONT
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                                                                   for the
                                                                                                    EY
                                                             District of Vermont

                   United States of America                           )
                                  v.                                  )
                                                                      )      Case   No. 2:18-cr49
                   Aneelo Peter Efthimiatos                           )
                             Defendant                                )

                                       ORDER OF DETENTION PENDING TRIAL
                                                      Part I - Eligibility for Detention

     Upon the

               D Motion of the Government attorney pursuant to l8 U.S.C. $ 3142(f)(l), or
               il Motion of the Government or Court's own motion pursuant to 18 U.S.C. $ 3142(fX2),
the Court held a detention hearing and found that detention is warranted. This order sets forth the Court's findings of fact
and conclusions of law, as required by l8 U.S.C. $ 3142(i), in addition to any other findings made at the hearing.

                            Part II - Findings of Fact and Law as to Presumptions under $ 3142(e)

  D A. Rebuttable Presumption Arises Under 18 U.S.C. S 31a2(eX2) (previous violator)t There        is a rebuttable
      presumption that no condition or combination of conditions will reasonably assure the safety of any other person
      and the community because the following conditions have been met:
           fI (1) the defendant is charged with one of the following crimes described in l8 U.S.C. $ 3la2(f)(l):
                  D(a)   a crime of violence, a violation of l8 U.S.C. $ 1591, or an offense listed in l8 U.S.C.
                     $ 2332b(g)(5XB) for which a ma,rimum term of imprisonment of 10 years or more is prescribed; or
                 D (b) an offense for which the maximum sentence is life imprisonment or death; or
                 tr (c) an offense for which a maximum term of imprisonment of l0 years or more is prescribed in the
                    Controlled Substances Act (21U.S.C. $$ 801-904), the Controlled Substances Import and Export Act
                    (21 U.S.C. $$ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. $$ 70501-70508); or
                 tr(d) any felony if such person has been convicted oftwo or more offenses described in subparagraphs
                    (a) through (c) of this paragraph, or two or more State or local offenses that would have been offenses
                    described in subparagraphs (a) through (c) of this paragraph if a circumstance giving rise to Federal
                    jurisdiction had existed, or a combination of such offenses; or
                 O (e) any felony that is not otherwise a crime of violence but involves:
                    (i) a minor victim; (ii) the possession of a firearm or destructive device (as defined in 18 U.S.C. $ 921);
                    (iii) any other dangerous weapon; or (iv) a failure to register under 18 U.S.C. $ 2250; and
            D (2) the defendant has previously been convicted of a Federal offense that is described in l8 U.S.C.
               $ 3142(D(l), or of a State or local offense that would have been such an offense if a circumstance giving rise
               to Federal jurisdiction had existed; czd
            il (3) the offense described in paragraph (2) above for which the defendant has been convicted was
               committed while the defendant was on release pending trial for a Federal, State, or local offense; and
            il (a) a period of not more than five years has elapsed since the date of conviction, or the release of the
               defendant from imprisonment, for the offense described in paragraph (2) above, whichever is later.


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   tr B. Rebuttable Presumption Arises Under 18 U.S.C. $ 31a2(e)(3) (narcotics,firearm,                   other offenses): There is a
      rebuttable presumption that no condition or combination of conditions will reasonably assure the appearance of the
      defendant as required and the safety of the community because there is probable cause to believe that the defendant
      committed one or more of the following offenses:
            tl(l) an offense for which a maximum term of imprisonment of l0 years or more is prescribed in the
              Controlled Substances Act (21 U.S.C. $$ 801-904), the Controlled Substances Import and Export Act(21
              U.S.C. $$ 951-971), or Chapter 705 of Title 46, U.S.C. (46 U.S.C. $$ 70501-70508);
            D (2) an offense under l8 U.S.C. $$ 924(c), 956(a),or2332b;
            D (3) an offense listed in l8 U.S.C. $ 2332b(gX5XB) for which a maximum term of imprisonment of l0 years
                 or more is prescribed;
            D (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. $$ l58l-1597) for which a maximum term of
              imprisonment of 20 yeils or more is prescribed; or
            D (5) an offense involving a minor victim under l8 U.S.C. $$ 1201, 1591,2241,2242,2244(a)(l),2245,
                 2251,2251A,22s2(a)(I),2252(a)(2),2252(a)(3),2252A(a)(t),2252A(a)(2),2252A(a)(3),2252A(aX4),
                 2260, 2421, 2422, 2423, or 2425.

   D C. Conclusions Regarding Applicability of Any Presumption Established Above

            O The defendant has not introduced sufficient evidence to rebut the presumption above, and detention is
                 ordered on that basis. (Part          III   need not be completed.)

                 OR

            tr   The defendant has presented evidence sufficient to rebut the presumption, but after considering the
                 presumption and the other factors discussed below, detention is warranted.

                                   Part   III   - Analysis and Statement of the Reasons for Detention

     After considering the factors set forth in l8 U.S.C. $ 3l42(g) and the information presented at the detention
hearing, the Court concludes that the defendant must be detained pending trial because the Government has proven:



   D By clear and convincing evidence that no condition or combination of conditions of release will reasonably assure
     the safety of any other person and the community.

   d ny a preponderance of evidence that no condition                   or combination of conditions of release will reasonably assure
      the defendant's appearance as required.

In addition to any findings made on the record at the hearing, the reasons for detention include the following:

       il   Weigtrt of evidence against the defendant is strong
       D    Subject to lengthy period of incarceration if convicted
       il   Prior criminal history
       il   Participation in criminal activity while on probation, parole, or supervision
       fl   History of violence or use of weapons
       il   History of alcohol or substance abuse
       tr   Lack of stable employment
       il   Lack of stable residence
       D    Lack of financially responsible sureties
       D    Lack of significant community or family ties to this district

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        il   Significant family or other ties outside the United States
        O    Lack of legal status in the United States
        O    Subject to removal or deportation after serving any period of incarceration
        il   Prior failure to appear in court as ordered
        fl   Prior attempt(s) to evade law enforcement
        O    Use of alias(es) or false documents
        fl   Background information unknown or unverified
        E    Prior violations of probation, parole, or supervised release

OTHER REASONS OR FURT}IER EXPLANATION:


        d    Motion was unopposed by the defendant through statements of counsel

        Defendant agreed to submit to custody pending trial. The court found that the status of a warrant from the
        Southem Dishict of Iowa contributed to a risk of flight.




                                                Part IV - Directions Regarding Detention

The defendant is remanded to the custody of the Attorney General or to the Attorney Generalos designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being
held in custody pending appeal. The defendant must be afforded a reasonable opportunity for private consultation with
defense counsel. On order of a court of the United States or on request of an attorney for the Government, the person in
charge of the corrections facility must deliver the defendant to a United States Marshal for the purpose of an appearance in
connection with a court proceeding.

Date:          rt   lzt   l'r
                                                                       Christina Reiss,




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